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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION

                         CIVIL ACTION NO: 0:09-CV-0053-CMC

Bobbie M. Sedberry and John C. Sedberry, )
                                         )
             Plaintiffs,                 )
                                         )
      vs.                                )
                                                  MEMORANDUM IN SUPPORT OF
                                         )
                                                  PLAINTIFFS’ MOTION IN LIMINE
DonB Aircraft International, Inc. and    )
Donald R. Bennett,                       )
                                         )
             Defendants.                 )
                                         )


         Plaintiffs make this Motion in Limine with regard to two pieces of anticipated

testimony, the first being a statement made by the Federal Aviation Administration, and

the second being a statement made to the Defendant in a telephone conversation with

an unknown person regarding horsepower modification. We set these out separately

below.

         1.    The Statement from the Federal Aviation Administration.

         As a result of the airplane crash on May 2, 2008, the Federal Aviation

Administration conducted some sort of investigation into the crash. Within the files

produced by the Defendants in this litigation, there are three documents related to this

investigation. First, is a May 29, 2008 inquiry from the Federal Aviation Administration

(FAA) to Defendant Bennett. (Exhibit 1 attached.) Second, is the two-page response

from the Defendant to the FAA. (That is attached as Exhibit 2.) Finally, there is a June

18, 2008 communication from the FAA to Defendant Bennett.             The unexplained




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conclusion is the following, “This letter is to inform you that the investigation did not

establish a violation of the Federal Aviation Regulations, and you may consider the

matter closed.” (Exhibit 3.) At least one of the experts presented by the Defendants,

Dwight Law, recites in his report that, “An investigation conducted by the FAA

subsequent to the engine failure incident, found that Mr. Bennett did not violate any

federal aviation regulations.” Our Motion in Limine is to prohibit Mr. Law or any other of

Defendants’ witnesses from referring to the investigation or the summary shared by the

FAA.

       At issue in this case is whether the Defendants properly repaired the aircraft

engine or whether some failure on their part caused the crash. Hearsay about what

someone else might have concluded is not appropriate, and it is not made admissible

merely because some expert would like to refer to it. Rule 703 of the Federal Rules of

Civil Procedure explains the allowable bases of expert testimony. The text of Rule 703

reads in full:

       The facts or data in the particular case upon which an expert bases an

       opinion or inference may be those perceived by or made known to the

       expert at or before the hearing. If of a type reasonably relied upon by

       experts in the particular field in forming opinions or inferences upon the

       subject, the facts or data need not be admissible in evidence in order for

       the opinion or inference to be admitted. Facts or data that are otherwise

       inadmissible shall not be disclosed to the jury by the proponent of the

       opinion or inference unless the court determines that their probative value




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       in assisting the jury to evaluation the expert’s opinion substantially

       outweighs their prejudicial effect.

       Rule 703 departs from the common law and permits an expert to form an opinion

based on facts or data such as hearsay that are not admissible in evidence. However,

to ensure reliability, Rule 703 utilizes a reasonable reliance standard, which requires the

court to make two inquiries: first, whether experts in the field in fact rely upon the facts

or data relied upon, and second, if so, is the reliance reasonable. Avondale Mills, Inc. v.

Norfolk S. Corp., No. 1:05-2817-MBS, 2008 WL 6953956, at *3 (D.S.C. Feb. 21,

2008)(“Prior to the offering of testimony regarding the . . . report by any of Defendants’

experts, the court would need to make a determination regarding the reasonableness of

the reliance.”). Wright & Gold, 29 Fed. Prac. & Proc., Bases of Expert Opinion § 6274

at 334.   “A district court may properly exclude the testimony of an expert if that

testimony lacks an adequate foundation or is not based on data reasonably relied upon

by experts in a particular field.” Brown v. Parker-Hannifin Corp., 919 F.2d 308 (5th Cir.

1990). “If the underlying data is so lacking in probative force and reliability that no

reasonable expert could base an opinion on that data, then an opinion which rests

entirely upon that data must be excluded.” Viterbo v. Dow Chem. Co., 646 F.Supp.

1420, 1424 (E.D. Tex. 1986). The inquiry into whether the standard is satisfied is made

on a case-by-case basis. Id.

          FAA Reports Are Not of the Type Relied Upon By Aviation Mechanics

       Defendant bears the burden of establishing that the FAA Report is of a type that

an expert in the field would rely upon in forming their opinions and inferences. See In re

Polygropylene Carpet Antitrust Litig., 93 F. Supp. 2d 1348, 1356 (N.D. Ga.



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2000)(plaintiffs adequately demonstrated frequent reliance on regression models by

economists to explain changes in prices, thus allowing on regression models by

economists to explain changes in prices, thus allowing reliance by expert). The

testimony of Defendant’s expert does not qualify for admission under Rule 703 because

it is not of a type relied upon by experts in this particular field.

       Defendant classifies its expert as an aviation mechanic expert, qualified to

describe the     processes of disassembly, inspection, and reassembly of engines in

aircraft. The type of evidence an aviation mechanic would normally rely upon would

include literature addressing aircraft maintenance and repair, including Lycoming engine

manuals, with the end result being that this type of information could support and assist

in reaching an opinion or inference of how aircraft should be repaired.             However,

Defendant’s expert now seeks to rely upon the results of a post-accident investigation

conducted by the FAA. This is not the type of report that would qualify as reasonably

relied upon by aviation mechanics in rendering a professional opinion on how to repair

an aircraft. The problem with Defendant’s position lies in the fact that Defendant’s

expert is merely a testifying expert. He is a mechanic, not a collector of evidence.

       The typical application of Rule 703 arises in the medical setting. Rule 703 as

applied to physicians was explained in the Notes of the Advisory Committee on

Proposed Rules, 56 FRD 183 (1972):

       [A] physician in his own practice bases his diagnosis on information from

       numerous sources and of considerable variety, including statements by

       patients and relatives, reports and opinions from nurses, technicians, and

       other facts, hospital records and xrays. Most of them are admissible in



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       evidence, but only with the expenditure of substantial time in producing

       and examining various authenticating witnesses. His validation, expertly

       performed and subject to cross-examination, ought to suffice for judicial

       purposes.

Defendant’s expert cannot be likened to a physician who normally relies upon a host of

information to arrive at his opinions.        Testifying experts may not just rely on any

information they can garner which best advances the position they advocate. In this

case, the information Defendant’s expert relied on to reach his opinion, the FAA Report,

is not of the type that aviation mechanics would rely upon in making a similar

professional judgment and therefore should be excluded.

                     Reliance on the FAA Report is Not Reasonable

       Any investigation conducted by the FAA is further put in doubt by the fact that the

Plaintiffs do not know what materials were considered or what criteria were used in

reaching any decision.      Plaintiffs have twice submitted a Freedom of Information

request to the FAA to determine what investigation was made and what criteria were

considered in reaching any sort of conclusion. We have received no information which

would allow us or the Court to evaluate that process. The FAA has not even seen fit to

deliver to us the three letters attached to this Motion, which we received from the

Defendants. The investigator has not been disclosed as an expert witness so that even

if the investigator himself were called to trial and could fully explain all the steps he took

and information he gathered, he could not offer the opinion which Mr. Law seeks to

attribute to him.   Yet, the Defendants here seek to cloak their opinions under the

authority of a federal agency. Even assuming aviation mechanics rely on FAA reports,



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Defendant’s expert’s reliance was not reasonable in this instance. Rule 703 does not

afford automatic entitlement to proponents of expert testimony. Univ. of Rhode Island v.

A.W. Chesterton, 2 F.3d 1200, 1218 (1st Cir. 1993). Rather, “Rule 703 requires the trial

court to give careful consideration to any inadmissible facts upon which the expert will

rely, in order to determine whether reliance is reasonable.” Id. (internal quotations

omitted); see also Viterbo v. Dow Chem. Co., 826 F.2d 420, 422 (5th Cir. 1987)(“Rule

703 nonetheless requires courts to examine the reliability of those sources”). Courts

have identified several factors for determining whether the basis for expert testimony is

reasonable, including was the expert’s basis published, was the basis subjected to peer

review, was the expert’s basis derived from sources that were impartial, was the basis

for the opinion complete and logically sufficient, and was the opinion more than just a

summary of another expert’s opinion. Wright & Gold, 29 Fed. Prac. & Proc., Bases of

Expert Opinion § 6274 at 341 – 42 (citing cases applying factors). For example, in

Nachtesheim v. Beech Aircraft Corp., 847 F.2d 1261, (7th Cir. 1988), the court rejected

the plaintiff’s contention that a FAA bulletin should have been admitted as a basis for

their expert’s opinion because the evidence was unreliable. The same holds true here.

      The FAA Report on which Defendant’s expert relies lacks the reliability

necessary to support expert testimony. First, the Court lacks any evidence about the

circumstances of its compilation to support a conclusion of trustworthiness.    The FAA

had its own purpose for conducting the investigation.       See In Re Air Crash Near

Roselawn, No. 95 C 4593, MDL 1070, 1997 WL 5772896, at *1 (N.D. Ill. Sept. 10,

1997)(“The Court, specifically finds that all post-accident government actions in this

case, including the FAA Airworthiness Directives       . . . , are reports which lack



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trustworthiness because each government agency involved in the post-accident

investigation was subject to different agendas and fact-finding methodology.”).

Additionally, the FAA Report is incomplete in that there is no supporting documentation

or data for the findings of the FAA. See University of Rhode Island v. A.W. Chesterton

Co., 2 F.3d 1200, 128 (1st Cir. 1993)(trial court did not err in excluding expert testimony

where there was no supporting documentation to support expert’s assessment). Given

this incompleteness, there is simply no way for the Plaintiffs to effectively cross examine

or impeach Defendant’s expert with respect to the findings of the FAA. Moreover, an

additional ground indicating the lack of reliability of his opinion is that fact that the

opinion is nothing more than just a recitation of the finding of the FAA. United States v.

Lawson, 653 F.2d 299, (7th Cir. 1981)(“The Government could not, for example, simply

produce a witness who did nothing but summarize out of court statements made by

others.”).   Defendant’s expert adds nothing to the report of the FAA. Therefore, this

testimony is nothing more than the conclusion of the FAA dressed up and blessed as

the opinion of the expert. This is not the intent of Rule 703. See Avondale Mills, Inc. v.

Norfolk S. Corp., No. 1:05-2817-MBS, 2008 WL 6953956, at *3 (D.S.C. Feb. 21, 2008)

(“Rule 703 is not intended to . . . allow a witness, under the guise of giving expert

testimony, in effect become the mouthpiece of the witnesses on whose statements or

opinions the expert purports to base his opinion.”).

       Defendant’s expert opinion simply lacks the reliability necessary to support

expert testimony. As an unsupported opinion, it does not serve the purpose for which it

is offered, that is, to assist the jury.




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  Assuming That Defendant Can Establish That His Expert Reasonably Relied On The
    FAA Report, the FAA Report Should Nonetheless Be Concealed From The Jury.

       Rule 703 provides a presumption against disclosure to the jury of information

used as the basis of an expert’s opinion. Avondale Mills, Inc. v. Norfolk S. Corp., No.

1:05-2817-MBS, 2008 WL 6953956, at *3 (D.S.C. Feb. 21, 2008). As stated in Rule

703, inadmissible evidence used in an expert’s opinion is inadmissible for other

purposes unless it satisfies a reverse-Rule 403 test, in which the “probative value in

assisting the jury to evaluate the expert’s opinion substantially outweighs their

prejudicial effect.” Fed. R. Evid. 703.

       Any probative value the FAA Report may have is substantially outweighed by the

prejudicial effect of allowing disclosure of the FAA Report to the jury. The danger rests

in the undue weight the jury may afford the conclusion of the FAA Report because it

issues from a governmental agency. This danger is especially heightened because the

conclusion reached by the FAA purports to settle a disputed issue at the center of the

Plaintiff’s claim. As one court has explained, governmental reports have an aura of

special reliability.

       [B]ecause this documentary evidence is in the form or reports

       promulgated by agencies of the United States governments, its apparent

       ‘official’ nature is likely to cause a jury to give the evidence inordinate

       weight and for this reason, any probative value the evidence might have

       would be far outweighed by the danger of unfair prejudice, confusion of

       the issues, or misleading the jury.




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Fowler v. Firestone Tire & Rubber Co., 92 F.R.D. 1, 2 (N.D. Miss. 1980) (excluding

National Highway Safety Administration report). The Fourth Circuit Court has even

recognized that a jury may place undue weight on a report simply because of its official

nature. In Martin v Cavalier Hotel Corp., 48 F.3d 1343, 1357-58 (4th Cir. 1995), the

court upheld the trial court’s exclusion of a state agency report “because of the

prejudicial effect such an official report might have on the jury.” Id.; see also Williams v.

Nashville Network, 132 F.3d 1123, 1129 (6th Cir. 1997)(excluding agency determination

on the ground that the jury could attach undue weight to the determination).

       Moreover, allowing the Defendant’s expert to disclose to the jury the substance

of the FAA Report exudes unfairness because, as explained previously, the report has

not been shown to be trustworthy.        There is no supporting documentation for the

findings of the FAA, or to even determine what FAA regulations were considered.

Plaintiffs have no way to cross examine or impeach the findings of the FAA. The

prejudicial effect of the FAA report merits exclusion from the consideration of the jury.

             FAA Reports Should Be Treated Like NTSB Accident Reports

       Congress enacted 49 U.S.C. § 1154(b) as a bar to the use of reports issued by

the National Transportation Safety Board (“NTSB”) in civil proceedings for damages.

Section 1154 (b) serves to prevent the use of NTSB reports in a manner that would

encroach on the province of the judge or jury. Hickson Corp. v. Norfolk S. Railway Co.,

227 F.Supp.2d 903, 909 (E.D.Tenn. 2002). A number of courts have construed the

statute to exclude only parts of the report which contain agency conclusions but to

permit the admission of factual data. Id.; see also Curry v. Chevron, USA, 779 F.2d

272, 274 (5th Cir. 1985)(expert witness was permitted to base his conclusions on factual



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portions of a NTSB report but was prohibited from using any conclusory statements in

the NTSB report); In Re Air Crash Near Roselawn, No. 95 C 4593, MDL 1070, 1997 WL

5772896, at *1 (N.D. Ill. Sept. 10, 1997)(allowing expert witnesses to rely only upon

non-conclusory facts contained in the NTSB report).         The underlying principle for

excluding NTSB accident reports is to protect the court and the jury from being

improperly influenced by the conclusions and opinions reached by the agency. See e.g.

Lobel v. Am. Airlines, Inc., 192 F.2d 217, 220 (2d Cir. 1951)

       At least one court has recognized that the admissibility of FAA and NTSB post-

accident reports raise similar concerns such that the conclusions and findings of the

FAA should be afforded the same exclusionary treatment:

       The Court, specifically finds that all post-accident government actions in

       this case, including the FAA Airworthiness Directives and Flight Safety

       Information Bulletins and the NTS Safety Recommendations, are reports

       which lack trustworthiness because each government agency involved in

       the post-accident investigation was subject to different agendas and fact-

       finding methodology which could undermine and confuse the jury’s distinct

       function in this case. The functions of the Court and the jury must be

       preserved uninfluenced by the findings of government investigators . . . .

       Post-crash evidence is inherently subject to the various agendas of the

       parties who prepared it.

In Re Air Crash Near Roselawn, No. 95 C 4593, MDL 1070, 1997 WL 5772896, at *1

(N.D. Ill. Sept. 10, 1997).




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      There are no factual portions of the FAA Report upon which Defendant’s expert

could rely. Instead, the only portion of the FAA report that Defendant’s expert cites is

that portion which conclusorily states that the FAA’s investigation did not establish a

violation of the Federal Aviation Regulations. Therefore, like NTSB reports, conclusions

issued by the FAA should be excluded for all purposes, and Defendant’ expert should

be prohibited from relying on the FAA report.

             2.     Hearsay with Respect to Horsepower Modifications.

      The engine in the plane that crashed had been modified about 15 years before

the crash to increase its performance. That modification was known by the owner, Mr.

Sedberry, and shared with the Defendant before he undertook the repair. During the

repair process, Mr. Bennett explains that he spoke with a Mr. Jenkins, who made the

initial modifications in the mid-90s.   Mr. Jenkins related to him that some of the

changes, like the new pistons, had come from a company called Lycon. Mr. Bennett

then called the switchboard at Lycon and was passed through to an unidentified person

with whom Mr. Bennett discussed the modifications to the engine. That person told him

that Lycon had no records that were that old, so he could not help or assist in

determining what changes might have been made. As a result of that conversation, Mr.

Bennett made a note indicating that the horsepower may have been increased into the

range of 350 to 375 horsepower. (All this background in reflected in pages 102-106 and

113 and 114 of Mr. Bennett’s deposition attached as Exhibit 4). Now, Dr. Charles

Manning, one of the experts for the Defendants, wants to use that hearsay statement

from an unknown person as proof that the horsepower was, in fact, increased into the

range of 350 to 375 horsepower. Based on that “evidence”, Dr. Manning then opines



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that the modification made in the mid-1990s required the use of a larger bolt to hold the

crankshaft gear in place, which omission contributed to the crash.

      Our position is that Dr. Manning should not be allowed to rely upon hearsay from

an unknown person to serve as his premise for establishing the actual horsepower of

the modified engine. All testimony about that hearsay and in reliance thereon, should

be precluded.


                                         Respectfully submitted,



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